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                              UNITED STATES DISTRICT COURT                               JS-6
                              CENTRAL DISTRICT OF CALIFORNIA
                                 CIVIL MINUTES—GENERAL

 Case No.      CV 22-6485-DMG (KSx)                                          Date    October 11, 2022

 Title Theresa Brooke v. SVI LAX LLC                                                         Page     1 of 1


 Present: The Honorable        DOLLY M. GEE, UNITED STATES DISTRICT JUDGE

               KANE TIEN                                                     NOT REPORTED
               Deputy Clerk                                                   Court Reporter

     Attorneys Present for Plaintiff(s)                             Attorneys Present for Defendant(s)
              None Present                                                    None Present

Proceedings: (IN CHAMBERS) ORDER AND NOTICE TO ALL PARTIES

         In light of Plaintiff’s notice of settlement, indicating that the case has settled in its entirety,
this action is placed in inactive status. By November 3, 2022, the parties shall file either (1) a
stipulation and proposed order for dismissal of the action or judgment, or (2) a motion to reopen
if settlement has not been consummated. Upon the failure to timely comply with this Order, this
action shall be deemed dismissed as of November 4, 2022.

        This Court retains full jurisdiction over this action and this Order shall not prejudice any
party to this action. The Order to Show Cause dated September 22, 2022 is discharged. [Doc. #
11.] All scheduled dates and deadlines are hereby VACATED.

IT IS SO ORDERED.




 CV-90                                CIVIL MINUTES—GENERAL                      Initials of Deputy Clerk KT
